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UNITED sTA TES DISTRICT CO URT §§ ~’§{/ \ (O\/'
WESTERN DISTRICT OF TENNESSE§ /;,,

 
 

 

EASTERN DIVISION
./~; 1,

RoBERT CARR, JUDGMENT IN A cleL c"‘A "§E

Piainarf,
v.
coRREcTioNs coRPoRATloN cAsE No= 1=02-1203_13
OF AMERICA, et al.,

Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS SO ORDERED AND AD.]UDGED that in accordance With the Agreed Order Of
Dismissal With Prejudice entered on July 6, 2005 , this cause is hereby dismissed with prejudice.

ROVED:

/

.I. ANIEL BREEN
U TED STATES DISTRICT COURT

    

THCNAS M. GOULD
Clerk of Court

C-C)M

(By) Deputy Clerk

This document entered on the docket S eet in com liance
with Ftoie 58 and,'or_?Q {a) FRCP on l 8

 

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This notice confirms a copy of the document docketed as number 53 in
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ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

